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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
              Plaintiff,                       §
v.                                             §            EP-13-CR-00370-DCG-1
                                               §
MARCO ANTONIO DELGADO,                         §
                                               §
              Defendant.                       §

                 ORDER REGARDING THE RECEIVER FOR SALE OF
                    PROPERTY IN EL PASO COUNTY, TEXAS

       On this day, the Court sua sponte, considered this case. On August 16, 2019, the Court

granted in part the United States of America's "Motion to Appoint Receiver for Sale of

Property".(ECF No. 370), see Order, ECF No. 376, and appointed Dan Olivas of Dan Olivas and

Associates, 240 Thunderbird Dr., SuiteD, El Paso, TX 79912, as the Receiver, see Order

Appointing Receiver for Sale of Prop. in El Paso Cty, Tex., ECF No. 377. Threafter, Mr. Olivas

filed a motion (ECF No. 378), wherein he "recommends proceeding with standard eviction

proceedings via JP [Justice of the Peace] court against any occupant(s)" and therefore, moves

the Court to enlarge the time for him to take possession of the Property. Receiver's Motion,

ECFNo. 378.

       IT IS ORDERED that, unless the Court orders otherwise and for purposes of any future

filings that require the Court to act, Mr. Olivas SHALL COORDINATE with the

Government's attorney-Steven E. Seward, the Assistant United States Attorney, who filed the

"Motion to Appoint Receiver for Sale of Property" (ECF No. 3 70) in the first instance-and in

turn, such attorney SHALL FILE, on behalf of Mr. Olivas, any necessary papers or motions in
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 connection with the Court's "Order Appointing Receiver for Sale of Prop. in El Paso County,

 Texas" (ECF No. 377).

        IT IS FURTHER ORDERED that the Government SHALL FILE by August 30,

 2019, a brief addressing whether a Justice of the Peace court order, as recommended by Mr.

· Olivas, is necessary and if so, by how long the Court should extend the deadline for the Receiver

 to take possession of the Property. The brief must be supported by relevant authorities,

 including any case law.

        So ORDERED       and SIGNED this Z6d!;-;f August 2019.




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